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                                      UNITED STATES DISTRICT COURT
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                                     CENTRAL DISTRICT OF CALIFORNIA
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     JOHN BURNELL, et al.                         Case No. 5:10-cv-00809-VAP-OP; and
 9                                                Case No. 5:12-cv-00692 VAP OP;
                       Plaintiffs,
10                                                Hon. Virginia A. Phillips
              v.
11                                                JUDGMENT
   SWIFT TRANSPORTATION
12 COMPANY OF ARIZONA, LLC, et al.
13                     Defendants.
14            and
15 JAMES R. RUDSELL,
16                     Plaintiff,
17            v.
18 SWIFT TRANSPORTATION
   COMPANY OF ARIZONA, LLC
19          Defendant
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                                                   -1-                 Case No. 5:10-cv-00809-VAP-OP
     SMRH:4878-9943-7078.2                                                                JUDGMENT
 Case 5:10-cv-00809-VAP-OP Document 278 Filed 04/29/22 Page 2 of 3 Page ID #:4824




 1            In accordance with the Court’s April 28, 2022, order granting final approval of the
 2 Parties’ class action settlement, it is hereby ORDERED, ADJUDGED, AND DECREED,
 3 that JUDGMENT is entered in favor of Defendants Swift Transportation Company of
 4 Arizona, LLC and Swift Transportation Company. Plaintiffs and the certified class,
 5 except those members who timely and validly requested exclusion, shall take nothing
 6 from Defendants except in accordance with the approved settlement and the Court’s April
 7 28, 2022, order. Members of the certified settlement class who timely and validly
 8 requested exclusion are set forth on Exhibit A. The Court retains jurisdiction to ensure
 9 compliance with the settlement and order approving the settlement.
10            This JUDGMENT is a separate document for purposes of Federal Rule of Civil
11 Procedure 58(a).
12            IT IS SO ORDERED.
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15 DATED: April 28, 2022                            _______________________________
                                                    Honorable Virginia A. Phillips
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                                                    United States District Judge
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                                                   -2-                  Case No. 5:10-cv-00809-VAP-OP
     SMRH:4878-9943-7078.2                                                                 JUDGMENT
 Case 5:10-cv-00809-VAP-OP Document 278 Filed 04/29/22 Page 3 of 3 Page ID #:4825




 1                                     Exhibit A
 2 Bruce Gordon
 3 Grant Fritsch
 4 Edward Bouissey
 5 Raad Othman
 6 Scott Sommers
 7 William Bouton
 8 William Yingling
 9 Tab Bachman
10 Rickey Hodge
11 Shirley Benoy
12 Tamra Horton
13 Richard Hodges
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                                          -3-                 Case No. 5:10-cv-00809-VAP-OP
     SMRH:4878-9943-7078.2                                                       JUDGMENT
